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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION

  SONY MUSIC ENTERTAINMENT, et al.,
                 Plaintiffs,
                                         Civil No. 1:18-cv-950 (LO / JFA)
              v.

  COX COMMUNICATIONS, INC, et al.,

                    Defendants.


  COX’S REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF ITS MOTION
   FOR RELIEF FROM THE JUDGMENT UNDER RULES 60(B)(2) AND 60(B)(3) AND
            REQUEST FOR INDICATIVE RULING UNDER RULE 62.1



                                  PUBLIC VERSION
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                                         INTRODUCTION

        With the present motion, Cox seeks an order compelling the inspection of source code

 integral to Plaintiffs’ direct infringement evidence and basic discovery concerning why it was not

 disclosed until more than two years after a verdict was rendered in this case. Cox can then assess

 whether relief is warranted under Rules 60(b)(2) and/or 60(b)(3). Plaintiffs’ opposition to this

 reasonable request is replete with mischaracterization and unsupported attorney argument.

 Plaintiffs present no justification why this basic and necessary relief is unwarranted.

        Instead, Plaintiffs spend pages upon pages expounding on how the withheld source code

 operates; what it would have shown; and why, in their view, it would not have made a difference

 in this case. However, in so doing, they do not deny that the code was withheld from Cox,

 effectively confirm that the functionality that it allegedly implemented was critical to the reliable

 operation of their system for sending notices that alleged actual “infringement,” and fail to cite a

 single record source for this conjecture. Indeed, they do not provide a declaration from their

 experts, MarkMonitor, or even their own attorneys to attest to the factual narrative that they put

 forward. And they cite nothing from the Charter case, in which the existence of the withheld code

 was disclosed. The Court should disregard Plaintiffs’ attempt to present and reject the substance

 of Cox’s anticipated motion without support.

        Moreover, by disclosing the alleged content of the code in their brief, Plaintiffs effectively

 moot any confidentiality or burden issues that might arise from the production of it in response to

 this motion, since, if their claims are valid, all that remains is to confirm them by the requested

 discovery. But what Plaintiffs do not do is explain why their counsel’s ipse dixit is an adequate

 substitute for the actual evidence that should have been produced here. Thus, Plaintiffs’ attempt to

 present and reject the substance of Cox’s anticipated motion without support should not be

 countenanced.
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        Plaintiffs’ opposition also relies upon a strained and unsupportable interpretation of Cox’s

 subpoena to MarkMonitor. Plaintiffs claim that Cox’s subpoena “arguably” did not call for the

 withheld source code, though, on its face it does, and, inconsistently, they acknowledge that

 Charter’s subpoena called for the code’s production using the very definition of MarkMonitor’s

 “System”—the subject-matter of the code at issue—used by Cox here. That should end the inquiry.

        Plaintiffs also devote their opposition to erecting legal and procedural straw man

 arguments, namely, that by lacking the withheld source code, Cox is not yet able to make a full

 showing under Rules 60(b)(2) and/or (3). But Cox acknowledged this in its motion and focuses on

 the record to demonstrate how the withheld code is integral to Plaintiffs’ direct-infringement case

 and how Cox relied on MarkMonitor’s representations that the code did not exist. It is indisputable

 that to hold Cox secondarily liable, Plaintiffs must first prove the underlying direct infringement.

 There can be no question that the withheld code, together with the cascade of misrepresentations

 about Plaintiffs’ direct infringement evidence addressed in Cox’s first Rule 60 motion (ECF 737

 & 780) (“First Rule 60 Motion”), casts Plaintiffs’ entire case into doubt.

        On this record, Cox asks that the Court order the production and inspection of the withheld

 MarkMonitor code and related discovery regarding the circumstances of its late disclosure.

                                           ARGUMENT

 I.     Cox’s Subpoena Directly Called for the Withheld Source Code

        Plaintiffs claim that Cox’s subpoena “arguably” did not call for the withheld code. Opp’n

 at 4 (emphasis added). That is wrong on multiple counts.

        First, Plaintiffs readily concede that the Charter subpoena sought the withheld code, and

 both the Charter and Cox subpoenas define MarkMonitor’s system—the source of the withheld

 code—in exactly the same way. Id. This should end the inquiry.



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        Second, notwithstanding the identical definitions and Plaintiffs’ concession that the

 Charter subpoena sought the withheld code, Plaintiffs acknowledge that “Cox’s subpoena targeted

 MarkMonitor’s processes for infringement verification and notice sending with respect to specific

 infringers,” but argue that it is “vague about whether it also covered MarkMonitor’s process for

 identifying contents of suspected infringing files in the first instance.” Opp’n at 4 (emphasis

 added). Plaintiffs describe the withheld code as responsible for verifying works to create a

 “database of known infringing files.” Id. at 1. And, as Plaintiffs presented at trial, notices will only

 be sent to ISPs like Cox for files with verifications in this database. Ex. R (Trial Tr.) 477:14-24

 (“So the file has been verified as infringing before the detection process, the evidence collection

 process ever can be used to send a notice. So if a file hasn’t been confirmed to contain infringing

 content, that, that evidence package is not eligible to send a notice.”); see also id. at 502:19-25.

 Accordingly, Plaintiffs and their expert repeatedly ascribed this verification process to

 MarkMonitor’s use of Audible Magic data integrated into its system through the very code in

 question. See Opp’n at 1; see also Ex. R (Trial Tr.) 570:16-19, 598:12-16. Thus, the withheld code

 is exactly the “process of infringement verification” that Cox’s subpoena requested. See Opp’n at

 1; see also id. at 5. Any argument to the contrary is unsupported.

        Indeed, throughout this case, MarkMonitor and Plaintiffs repeatedly took the position that

 the initial verification process was integral to the subsequent process for sending notices to Cox’s

 subscribers. MarkMonitor described these verifications as “a corollary to detection.” See Ex. S

 (Cox v. MarkMonitor ECF 10, Bahun Decl.) ¶ 5. Similarly, on summary judgment, Plaintiffs

 represented that “[e]very single MarkMonitor notice is supported by two key verifications,” one

 of them being, again, the initial verification step allegedly addressed by the withheld code. See

 ECF 392 (Pls.’ Memo. in Opp’n to Cox’s Mot. for Summ. J.) at 17; see also First Rule 60 Mot.



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 Ex. 2 (ECF 739-1) at 20

                                                                                             Then at

 trial, in response to Cox’s objection to Plaintiffs’ admission of the allegedly “infringing files,”

 Plaintiffs’ counsel argued “[e]very one of the files went through Audible Magic, which did

 essentially the equivalent of a digital listening” (Ex. R (Trial Tr.) 647:16-21), again, the process

 purportedly covered by the withheld source code. Cox’s subpoena provides no basis to carve out

 these processes from one another.

         Moreover, the plain language of the Cox subpoena also makes this clear. It defined the

 “[MarkMonitor] System” as the “system for monitoring and/or detecting alleged copyright

 infringement, generating copyright infringement notices, and sending copyright infringement

 notices.” Mot. Ex. E (Cox’s Subpoena Duces Tecum to MarkMonitor). Cox sought “[o]ne copy of

 each version of [MarkMonitor’s] System that was in use during Plaintiffs’ Claim Period, including

 all versions of the source code for each, that was used to monitor and/or detect copyright

 infringement, generate copyright infringement notices, or send copyright infringement notices”

 and “[a]ll Documents concerning the revision history of [the MarkMonitor] System and the

 associated source code.” See Mot. Ex. E (Cox’s Subpoena Duces Tecum to MarkMonitor) Nos. 12

 & 13.

         Third, when responding to Cox’s subpoena, MarkMonitor did not limit what it viewed as

 responsive and did not indicate that any portion of the available code was being withheld. In fact,

 when initially attempting to resist the production of any source code, MarkMonitor argued that

 due to its multiple levels of verification, “re[-]creating the system in place at the relevant time”

 “would be an enormous obstacle and expense.” Mot. Ex. I (Cox v. MarkMonitor ECF 12) at 4-5,

 9. After that, when the Cox v. MarkMonitor court rejected its arguments and ordered it to comply



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 in full with Cox’s subpoena (Mot. Ex. J (Cox v. MarkMonitor ECF 14)), MarkMonitor represented

 that “it would “make everything available that they have” relating to “(1) each version of the

 system used during the plaintiffs’ claim period; (2) all documents regarding the revision history;

 and (3) all associated source code.” Mot. Ex. A (March 25, 2019 email from A. Castricone to

 D. Leiden).

        Finally, while the Charter subpoena may have included additional variations on requests

 for source code, Plaintiffs provide no support for the proposition that Cox’s broader, all-

 encompassing request is somehow rendered narrower by different requests served by a different

 party in a different case years later. Again, Plaintiffs do not provide a declaration from

 MarkMonitor or its counsel attesting to that belief despite the parties’ close coordination on anti-

 piracy efforts, discovery responses, and Plaintiffs’ prosecution of their cases against ISPs.

        There can be no credible dispute that Cox’s subpoena sought the withheld source code.

 Plaintiffs’ strained arguments to the contrary should be rejected.

 II.    Cox Did Not “Ignore” Source Code That MarkMonitor Affirmatively Represented
        No Longer Existed

        Plaintiffs claim that Cox “ignored” the withheld code. See Opp’n at 5. That too is wrong.

 In advance of the court-ordered source code review, Cox sought assurances from MarkMonitor

 that all available code would be produced. See Mot. Ex. A (March 25, 2019 Email from D. Leiden

 to A. Castricone) (requesting that MarkMonitor confirm it was producing “(1) each version of the

 system used during the plaintiffs’ claim period; (2) all documents regarding the revision history;

 and (3) all associated source code”). Cox also requested that MarkMonitor confirm whether any

 revision history information would be made available. Id. (March 27, 2019 email from A.

 Castricone to D. Leiden). MarkMonitor’s counsel affirmatively represented that “[t]here is no

 revision history … as MarkMonitor was only running one version [of its software] during the


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  relevant time period,” “[t]he source code represents the source code for the version of

  MarkMonitor’s system during the relevant time period,” and that “[t]he source code is in its

  original executable form without revision or modification.” Id. Based on those assurances, Cox’s

  expert, Dr. Feamster, reviewed the code that was made available.

         Based on that review, Dr. Feamster noted that he

                                   See Mot. Ex. L (Feamster Dep. Tr.) at 76:21-77:3. Then, after Dr.

  Feamster’s source code review, Cox deposed MarkMonitor’s representatives about the availability

  of source code and its operation. Both representatives testified

                        Mot. Ex. B (Bahun Dep. Tr.) at 63:6–22; Mot. Ex. M (Paszkowski Dep. Tr.)

  at 106:13–24.

         Despite Cox’s repeated efforts to confirm the completeness of MarkMonitor’s production,

  Plaintiffs argue that Cox “never claimed that an inability to review such code limited [its]

  analysis.” Opp’n at 6. Plaintiffs miss the point. Cox cannot be expected to understand how, if at

  all, the withheld source code impacts the accuracy or reliability of Plaintiffs’ direct-infringement

  evidence unless and until it has an opportunity to examine it. That code was represented not to

  exist, but based upon the recent revelations, those representations were not accurate. See Mot. at

  2. With this motion, Cox seeks to examine that code so that it can determine whether it is

  sufficiently material to warrant relief under Rule 60.

  III.   Plaintiffs’ Post Hoc Downloads of “Infringing Files” Are No Substitute for the
         Withheld Source Code

         Plaintiffs devote the majority of their opposition to arguing why the withheld source code

  would be immaterial in light of other evidence they relied on to prove direct infringement. See

  Opp’n 5-7, 10-11, 16-19. This narrative is pure attorney argument and unsupported by any record

  citations. Plaintiffs have purportedly explained the operation and purpose of the withheld source


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  code, though it has not been produced, no party has admitted to examining it, and Plaintiffs’

  explanation of the code is unsupported by the case record. See Opp’n at 1. Plaintiffs’ self-serving

  say-so puts the source code directly at issue in this motion and warrants relief on that ground alone.

         Even assuming Plaintiffs’ narrative is accurate, it is unavailing, as they badly

  mischaracterize the purportedly “substitute” evidence to which they point. See Opp’n at 20.

  Plaintiffs claim that “Cox and its experts could have reviewed the infringing [Hard Drive] files

  and determined for themselves whether they contained the songs listed in MarkMonitor’s

  verification records … or something different.” Id. at 10. But Plaintiffs ignore the fact that the

  Hard Drive files were downloaded in 2016, long after Plaintiffs sent their last infringement notices

  to Cox, and their verifications were destroyed—facts that they withheld from Cox, the Court, and

  the jury. See ECF 739 at 16. Plaintiffs also ignore that the verifications recorded on the

  MarkMonitor Spreadsheet that was admitted at trial and put forth by Plaintiffs as “substitute” direct

  infringement evidence, were created as the result of the implementation of the withheld source

  code. See id. at 18-20; Opp’n at 1. Here too, the underlying files were destroyed, and Plaintiffs

  withheld those facts. See ECF 739 at 16.1 As a result of their concealment, Plaintiffs were able to

  falsely present the jury with what they claimed were two pieces of a unified whole (the Hard Drive




  1
    Just last week, the Charter court found that this evidence would be relevant to the jury’s
  determination of Plaintiffs’ direct infringement case. In a Recommendation to Grant in Part
  Charter’s Motion for Curative Measures and Sanctions for Plaintiffs' Spoliation of Evidence, the
  Magistrate Judge found that Plaintiffs’ and MarkMonitor’s failure to preserve this pre-notice
  period data and the 2016 Audible Magic verifications “should be permitted” “at trial[] if for no
  other reason than to attack the weight the jury should accord Plaintiffs’ proof of actual copyright
  infringement by Defendant’s customers … .” Charter ECF 718 at 8-9.
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  files and the MarkMonitor Spreadsheet).2 See, e.g., Ex. R (Trial Tr.) 639:3-7, 640:9-17, 598:7-11.

  In reality, they were two disjointed pieces of evidence created years apart from each other. See

  ECF 739 at 11. A key piece to fill in these gaps is the withheld source code at issue, as it supposedly

  was in operation when the verifications on the MarkMonitor Spreadsheet were created.

         Plaintiffs also minimize the potential materiality of the withheld source code by arguing

  that it “goes to the process by which MarkMonitor communicated with Audible Magic.” Opp’n at

  10 (emphasis added). But Plaintiffs fail to acknowledge that their entire case of direct infringement

  was premised on MarkMonitor’s processes and their purported accuracy. See supra at 3-4. This is

  because Plaintiffs lacked any contemporaneous evidence of direct infringement other than the

  notices of alleged infringement that they sent to Cox and the corresponding “evidence packages,”

  which consisted merely of log files recording interactions on the peer-to-peer networks. See Ex. R

  (Trial Tr.) 2944:21-24, 2950:9-14, 2233:21-2234:4. But that evidence did not contain any proof

  that the file was verified as containing one of Plaintiffs’ works in suit before the notice was sent—

  a step Plaintiffs touted as essential to ensuring that they only sent notices for files that contained

  copies of their copyrighted works. Id. at 477:14-24 (Plaintiffs’ expert testifying that a notice will

  not be sent if a file “hasn’t been confirmed”). Based on Plaintiffs’ disclosure and opposition, that

  key verification process is purportedly demonstrated by the withheld source code.

         Specifically, at trial, Plaintiffs touted MarkMonitor’s process as “the gold standard in

  antipiracy work.” Id. at 40:1–9. Plaintiffs presented extensive testimony regarding MarkMonitor’s

  process, including that their expert “determined that the MarkMonitor system accurately detected



  2
    Notably, Cox also offered, but was prevented from admitting at trial the version of the
  MarkMonitor Spreadsheet arguably showing that Audible Magic could not verify allegedly
  infringing files. The evidence may have been admissible had Cox reviewed the code and it revealed
  issues with MarkMonitor’s reliability. See ECF 739; First Rule 60 Mot. Ex. 11 (ECF 739-7); First
  Rule 60 Mot. Ex. 6 (ECF 738-7) at 4.
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  peers that are copying and distributing the plaintiffs’ copyrighted works, and that it prepares and

  sends accurate notices about the infringement activity that it detects.” Id. at 2945:7–11. The

  accuracy of this testimony depended, in part, on the withheld source code.

          For these same reasons, Plaintiffs’ focus on Audible Magic’s source code is misplaced. See

  Opp’n at 25, n.12. Whether Audible Magic’s software—operating in a vacuum—correctly verifies

  files is irrelevant to the question of whether MarkMonitor first verified files through Audible

  Magic before sending notices. Aside from unsubstantiated testimony from MarkMonitor and

  Plaintiffs’ technical expert—self-interested parties—there is no evidence in the case that

  MarkMonitor did that. See ECF 739 at 11-12. The source code addresses that question, which

  necessitates its review.

  IV.     Cox Has Made a Necessary Showing for Its Requested Relief Under Rule 60(b)(2)

          Plaintiffs wrongly focus on the merits of Cox’s anticipated Rule 60(b)(2) motion. See

  Opp’n at 16. As Cox makes clear, what it presently seeks is discovery—of the withheld source

  code and related documents and testimony concerning its disclosure—to determine whether relief

  is warranted under Rule 60. See Mot. at 3. Thus, Plaintiffs’ arguments about whether Cox has made

  a sufficient showing under Rule 60 lack merit and should be disregarded.

          To the extent Plaintiffs’ arguments can be construed as opposing Cox’s request for

  discovery, they also fail. Based on the necessarily limited record before the Court, Cox has

  demonstrated that if the withheld source code undermines Plaintiffs’ claim of direct infringement,

  the outcome of the case may have been different. See Mot. at 13-17. No more should be required

  at this stage.




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         A.      Cox Has Made a Prima Facie Showing That It Has a Meritorious Defense

         Plaintiffs claim that “Cox failed to proffer any evidence as to why a new trial would not be

  a futile gesture.” Opp’n at 15. The discovery is the “evidence” that Cox would offer should it be

  ordered and prove sufficient to warrant relief under Rule 60.

         In any event, Cox has presented evidence from the current record that demonstrates

  precisely how the withheld source code could impact Plaintiffs’ proof of direct infringement, a

  prerequisite for holding Cox secondarily liable. See Mot at 15-16. As discussed above, and in Cox’s

  moving memorandum, Plaintiffs relied on the purported accuracy or reliability of MarkMonitor’s

  process for verifying and identifying instances of infringement. See supra at 3-4; see also Mot. at

  8, 10. And in doing so, Plaintiffs represented at trial that they possessed both the files that

  MarkMonitor verified (the files on the 2016 Hard Drive) and the recorded verifications (the

  MarkMonitor Spreadsheet). See Ex. R (Trial Tr.) 2944:2-2945:11. It has since been revealed that

  neither was true. See ECF 739 at 11-12. Thus, Plaintiffs’ proof of direct infringement is now

  materially different—and weaker—than it was during trial. If the withheld source code

  demonstrates, for example, that MarkMonitor did not verify files before notices were sent or that

  those verifications were incomplete, then Plaintiffs’ proof will be rendered even weaker.

         Further, Plaintiffs ignore that they obtained the admission of the MarkMonitor Spreadsheet

  and the 2016 Hard Drive based on their representation that the files were subjected to “digital

  listening.” Ex. R (Trial Tr.) 647:16-21. That is, pursuant to MarkMonitor’s process and according

  to Plaintiffs, the files on the Hard Drive were each put through Audible Magic’s verification

  process and those verifications were captured by the MarkMonitor Spreadsheet before notices

  were sent. See id. at 477:14-24. While it has since been revealed that those pieces of evidence do

  not represent the files downloaded and verified before notices were sent, the withheld source code

  was an essential component of this purported “digital listening.” See id. at 647:16-21 (Plaintiffs’
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  counsel explaining that “[e]very one of the files went through Audible Magic, which did essentially

  the equivalent of a digital listening”). Thus, given the inaccurate basis upon which Plaintiffs

  obtained the admission of two key pieces of their direct-infringement case, the belated discovery

  of source code that addresses a core aspect of the process giving rise to that evidence is highly

  probative. If the withheld code proves to operate inconsistently with Plaintiffs’ representations, a

  retrial would not be a futile gesture.

         In sum, Cox has identified evidence that the withheld source code would impact Plaintiffs’

  direct-infringement case and thus has presented a meritorious defense required to meet the

  predicate requirements for relief under Rule 60(b), as it has “proffer[ed] evidence which would

  permit a finding for the defaulting party or which would establish a valid counterclaim.” Augusta

  Fiberglass Coatings, Inc. v. Fodor Contracting Corp., 843 F.2d 808 (4th Cir. 1988). Indeed, “all

  that is necessary to establish the existence of a ‘meritorious defense’ is a presentation or proffer of

  evidence, which, if believed, would permit either the Court or the jury to find for the defaulting

  party.” Id.; see also Jones v. Phipps, 39 F.3d 158, 165 (7th Cir. 1994) (“A meritorious defense is

  not necessarily one which must, beyond a doubt, succeed in defeating a default judgment, but

  rather one which at least raises a serious question regarding the propriety of a default judgment

  and which is supported by a developed legal and factual basis.”).

         B.      Cox Has Made a Prima Facie Showing of Exceptional Circumstances
                 Warranting Relief

         Plaintiffs also claim that their agent’s “mere identification of potential new evidence after

  a case is over does not constitute an exceptional circumstance.” Opp’n at 15. But Plaintiffs provide

  no support for that conclusory assertion and have no basis to characterize the potential materiality

  of the withheld code. Plaintiffs have neither examined it, nor have they provided any declaration

  or other information from MarkMonitor regarding what it represents. Plaintiffs’ narrative regarding


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  the withheld code and how it fits into this case is entirely based on their unsupported say-so. See

  supra at 4. As set forth above, Plaintiffs were first required to prove direct infringement to hold

  Cox secondarily liable for that infringement. Their direct-infringement case relied almost entirely

  on the accuracy and reliability of MarkMonitor’s system. Central to their strategy was Plaintiffs’

  assurance that MarkMonitor sent files to Audible Magic for verification before notices were sent.

  Because those files were destroyed, the discovery of the code that operated that process constitutes

  an exceptional circumstance. See Midwest Franchise Corp. v. Metromedia Rest. Grp., Inc., 177

  F.R.D. 438, 441 (N.D. Iowa 1997) (finding exceptional circumstances where material evidence

  was discovered after trial).

         Further, Plaintiffs’ focus on what Cox challenged during the trial is misplaced. Cox’s expert

  examined the code that was available. Where that available code indicated portions were withheld,

  he noted as much. See Mot. Ex. K (Feamster Rebuttal Rpt.) ¶ 47; see also Mot. Ex. L (Feamster

  Dep. Tr.) 76:21-77:3, Ex. T (Feamster Dep. Tr.) 232:8-233:4; see also Ex. R (Trial Tr.) 2236:10-

  2237:10, 2240:6-19. However, Cox cannot be penalized because MarkMonitor—Plaintiffs’

  agent—affirmatively represented that it had produced all available code when that proved to be

  untrue. With the withheld code, Cox’s approach to examining Plaintiffs’ direct-infringement

  evidence may well have been different. Plaintiffs are in no position to challenge that, as neither

  they nor MarkMonitor had provided any evidence of what the code represents or why it would

  prove immaterial.

         C.      Cox Has Made a Prima Facie Showing Under Rule 60(b)(2)

         Relief is warranted under Rule 60(b)(2) if “(1) the evidence is newly discovered since the

  judgment was entered; (2) due diligence on the part of the movant to discover the new evidence

  has been exercised; (3) the evidence is not merely cumulative or impeaching; (4) the evidence is

  material; and (5) the evidence is such that is likely to produce a new outcome if the case were
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  retried, or is such that would require the judgment to be amended.” Boryan v. United States,

  884 F.2d 767, 771 (4th Cir. 1989). Here, Cox has made a prima facie showing that each of these

  elements could be satisfied given the potential importance of the withheld code. Thus, Cox has

  established that the discovery necessary to make that determination is warranted.

         First, Plaintiffs argue that the withheld code is cumulative by pointing to the 2016 Hard

  Drive files and the MarkMonitor Spreadsheet. Opp’n at 18. Plaintiffs claim that Cox could have

  “analyz[ed] hash values” to “compare the artist and title entries on the MarkMonitor Spreadsheet

  to the contents of the music files on the Hard Drive and could do whatever listening or automated

  content identification it wanted.” Opp’n at 18–19. But that process does not address the issue of

  whether MarkMonitor verified files before notices were sent, and the accuracy of that purported

  process. Further, as set forth above and in Cox’s First Rule 60 Motion, that evidence is materially

  weakened by Plaintiffs’ post-judgment disclosures. See ECF 739 at 26-27.

         Second, relying on many of the same arguments, Plaintiffs claim that the withheld code is

  immaterial. See Opp’n at 16, 19. Plaintiffs again wrongly focus on their direct-infringement

  evidence—and Cox’s challenges thereto—during the trial. However, in doing so, Plaintiffs again

  ignore the fact that their presentation was deeply flawed, as they withheld and failed to disclose

  the provenance of that evidence. Thus, Plaintiffs’ claims as to the materiality of the withheld code

  ring hollow. Further, and as set forth above, Plaintiffs continue to characterize the purpose of the

  withheld code without any evidentiary basis. And even relying on Plaintiffs’ own self-serving

  description of the withheld code, they continue to fail to acknowledge that the withheld code

  addresses whether MarkMonitor verified files before notices were sent—not whether those

  verifications occurred at some indeterminate point.




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         Plaintiffs also claim that “contemporaneous” evidence is immaterial because “[g]iven how

  hash values operate, copies of infringing files that have the same hash values as those referenced

  in Plaintiffs’ infringement notices, whose contents were verified by Audible Magic, and that appear

  on the Hard Drive are the same regardless of when they were downloaded.” Opp’n at 18. That was

  a heavily contested subject of expert testimony and also begs the question of why Plaintiffs went

  to the trouble to have Audible Magic reverify the 2016 files. But putting that aside, Plaintiffs’

  strident assertion ignores the fact that their agent, MarkMonitor, claims to have ensured that it

  verified content before notices were sent. The withheld source code is highly probative of the

  accuracy of that assertion.

         Third, as Plaintiffs acknowledge (Opp’n at 20), Cox cannot currently demonstrate whether

  the withheld source code is “of such a material and controlling nature as would probably have

  changed the outcome.” Schultz v. Butcher, 24 F.3d 626 (4th Cir. 1994). That is why Cox seeks

  discovery.

         In the face of this procedural posture, Plaintiffs nevertheless argue that “[t]he infringing

  files and other evidence produced to Cox in discovery demonstrate Cox’s liability, regardless of

  [withheld code].” Opp’n at 20. But that ignores the legal reality of Plaintiffs’ claims. Cox did not

  infringe Plaintiffs’ copyrights—its subscribers allegedly did. And Cox can only be held secondarily

  liable if Plaintiffs can first demonstrate that direct infringement. Cox is challenging Plaintiffs’

  direct-infringement case based on disclosures regarding the provenance of certain pieces of key

  evidence. Cases fall apart when threshold issues like direct infringement are not met. See Softech

  Worldwide, LLC v. Internet Tech. Broad. Corp., 761 F. Supp. 2d 367, 375 (E.D. Va. 2011)

  (“Secondary liability for copyright infringement does not exist in the absence of direct




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  infringement by a third party.”) (citations omitted). There is no basis to assume the result would

  be different here.3

  V.      Cox Has Made a Necessary Showing for Its Requested Relief Under Rule 60(b)(3)

          Rule 60(b)(3) provides for relief from a judgment based on an opposing party’s fraud,

  misrepresentation, or misconduct. Fed. R. Civ. P. 60(b)(3); see also Square Constr. Co. v.

  Washington Metro. Area Transit Auth., 657 F.2d 68, 71 (4th Cir. 1981) (finding “misconduct on

  the part of an adverse party in the form of [nonmoving party’s] failure to produce the [evidence]

  pursuant to a proper request”). With this motion, Cox seeks discovery to first determine whether

  there has been any misconduct by or attributable to Plaintiffs in MarkMonitor’s failure to produce

  the withheld code and its belated discovery of it.

          A.      Plaintiffs and MarkMonitor Closely Coordinate Anti-Piracy and Discovery
                  Efforts

          Cox has a good-faith basis to pursue this discovery, as the record before the Court shows a

  decade-plus relationship between Plaintiffs and MarkMonitor. Indeed, since at least 2012,

  MarkMonitor has been compiling evidence for Plaintiffs to later use in lawsuits against ISPs like

  Cox. See ECF 739 at 14. MarkMonitor and Plaintiffs largely failed to retain that evidence, which

  necessitated yet further engagements between the two. Id. at 23-24. In late 2015 through early

  2016, Plaintiffs hired MarkMonitor again, this time to attempt to re-download all the files

  identified in notices they had sent to ISPs years earlier specifically for their then-anticipated

  litigation against Cox, but had failed to retain. Id. at 12. In 2018, shortly after Plaintiffs filed suit

  against Cox,



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    Plaintiffs’ cases are distinguishable. In Bohus v. Beloff, the court found that the newly discovered
  evidence strengthened the nonmovant’s case and that a new trial was unwarranted. 950 F.2d 919,
  931 (3d Cir. 1991). In Greyhound Lines, Inc. v. Wade, the court found that the liability at issue in
  the case rested on more than just the testimony at issue. 485 F.3d 1032, 1037 (8th Cir. 2007).
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                                                                             . See id.

         In 2019, at the commencement of discovery in this case, Plaintiffs represented in their

  initial disclosures that their trade group, the Recording Industry Association of America (the

  “RIAA”), managed the MarkMonitor notice program, which MarkMonitor conducted. Plaintiffs

  disclosed that both parties could be reached through their counsel, O+Z. See Mot. at 6. During

  discovery, in resisting Cox’s subpoena, MarkMonitor argued that it had first provided to Plaintiffs

  all the evidence it believed would be responsive to Cox’s subpoena. Mot. Ex. I (Cox v.

  MarkMonitor ECF 12) at 6. Then, throughout pretrial proceedings, MarkMonitor representatives

  repeatedly provided support to Plaintiffs, including through numerous factual declarations,

  coordination with Plaintiffs’ experts, and trial testimony. Mot. at 6-9. Further, in the Charter case,

  Plaintiffs’ counsel represented that Plaintiffs also coordinated with MarkMonitor in connection

  with its discovery responses there. See Ex. U (Charter ECF 400 (Feb. 23, 2021 Hr’g. Tr.)) 60:3-9,

  71:14-17. Finally, when MarkMonitor apparently recently discovered the withheld code, it

  informed Plaintiffs’ outside counsel (O+Z, again), as opposed to Charter or Bright House, the

  parties who had served it with a subpoena. Mot. at 12. Moreover, this “discovery” conspicuously

  occurred right before Plaintiffs were to respond to Charter’s motion for sanctions for Plaintiffs’

  alleged spoliation of this very code. See Charter ECF 636 & 696-2.

         This record paints a clear picture of close ties and coordination in this and other related

  lawsuits. Cox seeks discovery merely to assess whether there has been any misconduct by or

  attributable to Plaintiffs in MarkMonitor’s failure to produce the withheld code and its belated

  discovery of it. Withholding the source code and related discovery in response to Cox’s subpoena



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  requests would squarely constitute misconduct. See Square Const. Co. v. Washington Metro. Area

  Transit Auth., 657 F.2d at 71 (finding “misconduct on the part of an adverse party in the form of

  [non-moving party’s] failure to produce the [evidence] pursuant to a proper request”).

         B.      If Plaintiffs Engaged in Misconduct, Cox May Be Able to Establish the Other
                 Elements of Rule 60(b)(3)

         If Plaintiffs did engage in misconduct, Cox has sufficiently explained how relief would be

  warranted under Rule 60(b)(3) depending on the substance of the withheld code and the other

  discovery sought.

         First, if the source code proves to be unhelpful to Plaintiffs, including, for example, by

  demonstrating that MarkMonitor did not verify files before sending notices, or that there were

  issues with the accuracy of that process, then Cox can readily establish that it was prevented from

  fully and fairly presenting a defense. As set forth above, MarkMonitor’s process for verifying

  infringing files and sending notices to ISPs like Cox was a centerpiece of Plaintiffs’ direct

  infringement case. And if Plaintiffs cannot establish direct infringement, they cannot hold Cox

  secondarily liable. In the face of this argument, Plaintiffs claim that the evidence of Cox’s liability

  is overwhelming. See Opp’n at 1, 2. Not only do Plaintiffs fail to cite anything for that claim, they

  also ignore that all that is relevant at this stage is whether they sufficiently proved that Cox’s

  subscribers committed direct infringement—not whether Cox can be held secondarily liable for

  such infringement. Plaintiffs’ direct infringement evidence has now been revealed to have been

  manufactured after the fact and otherwise vulnerable.

         Second, while Plaintiffs argue that Cox could have listened to the files on the 2016 Hard

  Drive, they ignore that those files were downloaded after the Claims Period. As set forth in Cox’s

  First Rule 60 Motion, those were not the files that were downloaded and verified before notices

  were sent. See ECF 739 at 18-19. Thus, Plaintiffs’ evidence of direct infringement constituted


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  purported verifications of files that no longer exist, and files downloaded after the Claims Period

  that lack verifications. Id. at 10-11. Plaintiffs also fail to explain whether those files were even

  verified using the withheld source code. Plaintiffs further ignore that no verifications exist for

  those files. And the only verifications in evidence (the MarkMonitor Spreadsheet) are of files that

  were destroyed. See id. at 11-12. So, listening to unverified, post–Claims Period files that may not

  have been processed through the withheld source code does not cure Cox’s claimed prejudice.

  Moreover, this other evidence does not address the question of whether MarkMonitor verified files

  before sending notices for them.

         These failings undoubtedly prejudice Cox. If Cox can show that Plaintiffs were involved

  in causing that prejudice, then justice gives way to finality and the judgment should be vacated.

  VI.    Cox Has Established That Discovery Is Warranted

         Cox is not on a “fishing expedition.” Opp’n at 24. It seeks simple, targeted discovery of:

  (1) the withheld source code and (2) evidence concerning MarkMonitor’s and Plaintiffs’

  coordination during both the discovery period in this case related to MarkMonitor’s response to

  Cox’s subpoena and leading up to the recent discovery of the withheld source code. As set forth

  above, Cox has established a basis warranting discovery.

         Plaintiffs do not argue that the Court lacks the ability to order discovery in further support

  of a Rule 60 motion. Plaintiffs instead claim that courts sparingly exercise this authority and

  attempt to distinguish those instances in which such discovery has been ordered. The Fourth

  Circuit has determined that a district court “retain[s] jurisdiction to entertain a Rule 60(b) motion,

  even when the underlying judgment is on appeal.” Fobian v. Storage Tech. Corp., 164 F.3d 887,

  889 (4th Cir. 1999). Moreover, the Court may issue an indicative ruling that Cox’s motion “raises

  a substantial question.” Fed. R. Civ. P. 62.1(a)(3). And if the Fourth Circuit returns jurisdiction to

  the Court for disposition of this motion, it also has the authority to order discovery. See, e.g.,
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  Johnson v. Starbucks Corp., 2019 WL 402359 (N.D. Cal. Jan. 31, 2019); MMAR Grp., Inc. v. Dow

  Jones, 187 F.R.D. 282 (S.D. Tex. Apr. 8, 1999).

         Cox’s request for discovery and an abeyance is proper, and the case law supports such a

  finding. The cases Cox has cited support the premise that a district court has the discretion to order

  further discovery in the face of a “colorable claim” of fraud. See Pearson v. First NH Mortg. Corp.,

  200 F.3d 30, 35 (1st Cir. 1999). Pearson additionally recognized that such discovery was warranted

  where the claimant had been denied the discovery initially. Id. Likewise, Midwest Franchise Corp.

  v. Metromedia Rest. Grp., Inc., found the same, and was factually similar to the case here in that

  evidence was newly discovered after a judgment was made that justified additional discovery. 177

  F.R.D. 438, 441 (N.D. Iowa 1997).

                                            CONCLUSION

         For all the foregoing reasons, and those set forth in Cox’s moving brief, Cox respectfully

  requests that this Court enter an indicative ruling under Rule 62.1 stating that it is inclined to grant

  Cox’s motion for relief from the judgment, or—at a minimum—that Cox’s Motion raises a

  substantial issue that warrants further consideration by this Court. Further, or in the alternative,

  Cox respectfully requests that the Court enter an indicative ruling so that can exercise its authority

  to order Cox’s requested discovery and, to the extent necessary, grant it leave to supplement its

  Motion with that discovery.




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  Dated: March 9, 2022                         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on March 9, 2022, the foregoing was filed and served electronically

  by the Court’s CM/ECF system upon all registered users.

                                                     s/ J. Tyler McGaughey
                                                     J. Tyler McGaughey




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